
611 S.E.2d 847 (2005)
359 N.C. 326
STATE of North Carolina
v.
James Edwin SUTTON.
No. 15P05.
Supreme Court of North Carolina.
March 3, 2005.
James N. Freeman, Jr., for James Edwin Sutton.
Gary Govert, Special Deputy Attorney General, Charles W. Hipps, District Attorney, for State of NC.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 10th day of January 2005 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Attorney General, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 3rd day of March 2005."
Upon consideration of the petition filed on the 10th day of January 2005 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 3rd day of March 2005."
